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EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Miami Division
EDWIN GARRISON, et al. )
)
Plaintiffs, )
V. ) Civil Action No.: 1:23-cv-21023-CMA
)
KEVIN PAFFRATH, et al. )
)
Defendants. )
)
)

 

DECLARATION OF ARZU MALIK

I, Arzu Malik, hereby declare under penalty of perjury:

1. I am over the age of 18 and understand my obligation to tell the truth in this
Declaration.
2. This Declaration is based upon my personal knowledge.

3. I reside at 40 Waterside Plaza, Apartment 11D, New York, New York 10010
(“Apartment”).

4. Erika Kullberg does not live with me at this address and never has lived with me
at this address.

5. Erika Kullberg does not and has not ever owned or leased this Apartment.

6. On or about April 6, 2023, I was alone in the Apartment when, shortly after

dinnertime, I heard a loud, aggressive banging on the door to the Apartment.

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7. I thought this was odd because the apartment building has a doorman and usually
the doorman calls the Apartment to notify me of anyone entering the building to visit my
Apartment, even food deliveries, but the doorman did not call the Apartment.

8. Because this was unusual, I was concerned and did not answer the door. I called
the doorman and was told that an individual told the doorman he was there to serve legal
papers but the person serving the papers had not told the doorman to which apartment he
was going.

9. I believe the doorman was Carlos as I recognized his voice. There is no doorman
named Jerry that works in my apartment building.

10. | The man who was banging at the door departed after a few minutes, and left
papers taped to the front door of the Apartment.

11. The following is a true and accurate picture of how the man left the papers:

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12. _‘_ I was not authorized by Erika Kullberg to accept these papers and did not speak to

Ms. Kullberg on the day that this occurred.

I declare under penalty of perjury that the foregoing in true and correct.

Dated: May 25, 2023
New York, New York .

Arzu Maliki

 

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